     Case 2:13-cr-06070-SAB          ECF No. 33   filed 12/19/13   PageID.71   Page 1 of 1




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 5                         UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
     UNITED STATES OF AMERICA,                       No. CR-13-6070-WFN
 8
 9                      Plaintiff,                   ORDER DENYING DEFENDANT’S
10 vs.                                               MOTION FOR RECONSIDERATION

11 KENNETH RICHARD ROWELL,                           ☒     Motion Denied
                                                           (ECF No. 25)
12
               Defendant.
13                                                   ☐     Action Required
14
15   Date of bail review hearing: 12/18/2013
16   ☒     Insufficient information presented to reasonably assure Defendant’s future
17   appearance.
18   ☒     There are no conditions or combination of conditions other than detention
19   that will ensure the safety of the community.
20         IT IS ORDERED Defendant’s Motion for release from custody (ECF No.
21   25) is DENIED. Defendant shall remain in the custody of the U.S. Marshal
22   pending further order of the court.
23         DATED December 19, 2013.
24
                                  s/James P. Hutton
25                               JAMES P. HUTTON
26                       UNITED STATES MAGISTRATE JUDGE
27
28
     ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION - 1
